                       2:20-cr-20040-MMM-EIL # 24           Page 1 of 1
                                                                                                   E-FILED
                                                                Monday, 02 November, 2020 11:37:07 AM
                                                                           Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
              Plaintiff,                    )
                                            )
       v.                                   )              Case No. 20-20040
                                            )
CHRISTOPHER L. BAILEY,                      )
                                            )
              Defendant.                    )

                                            ORDER

       On October 16, 2020, Magistrate Judge Eric I. Long filed a Report and Recommendation

Concerning Plea of Guilty. (ECF No. 21). No written objections were filed. Therefore, this Court

adopts the Report and Recommendation. The plea of guilty of the Defendant to Counts 1-3 of the

Indictment is accepted. The Defendant is adjudged guilty of the offense.

       The Sentencing Hearing remains set for March 8, 2021, at 10:00 AM in Urbana before

Judge Michael M. Mihm.

       ENTERED this 2nd day of November, 2020.

                                                    s/ Michael M. Mihm
                                                    Michael M. Mihm
                                                    United States District Judge
